
*169DECISION.
The decedent and his wife, Rebecca Dine, were tenants in common of the undivided one-half interest conveyed to them by Harry Dine. The deficiency should be computed by including as a part of the decedent’s estate an undivided one-fourth interest in the property located at 1123 Main Street, Cincinnati, Ohio, at the value of $15,000. Sergeant v. Steinberger, 2 Ohio, 305; Wilson v. Fleming, 13 Ohio, 68; Penn v. Cox, 16 Ohio, 30; Farmers’ &amp; Merchants' National Bank v. Wallace, 45 Ohio St. 152; Thompson on Real Property, Vol. II, p. 942, §1738. The determination is otherwi&amp;e approved. Final determination will be made on 15 days’ notice, under Rule 50.
